Case 23-01859-CL7 Filed 06/30/23 Entered 06/30/23 11:36:18 Doc1 Pg. 1 of 36

 

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United States Bankruptcy Court for the:
SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known) Chapter 7

 

O Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Birch Farms, Inc.

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification | XX-XXXXXXX
Number (EIN)

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

861 Harold Place, Suite 206
Chula Vista, CA 91914

 

 

 

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
San Diego Location of principal assets, if different from principal
County place of business

1341 Air Wing Road, Suite 3 San Diego, CA 92154
Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL) _https://birchfarmsinc.com/

 

6. Type of debtor lH Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

0) Partnership (excluding LLP)
O Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Case number (if known)

 

 

Debtor Birch Farms, Inc.
Name
7. Describe debtor's business A. Check one:

BOoooagagogo

None of the above

B. Check all that apply
DO Tax-exempt entity (as described in 26 U.S.C. §501)
1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)

0 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

 

4244
8. Under which chapter of the Check one:
Bankruptcy Code is the a
debtor filing? Chapter 7
A debtor who is a “small O Chapter 9
business debtor” must check .
ihe frst sub-box. A debtor ae O Chapter 11. Check all that apply:
defined in § 1182(1) who 0 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
elects to proceed under noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
subchapter V of chapter 11 $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
(whether or not the debtor is a operations, cash-flow statement, and federal income tax return or if any of these documents do not
“small business debtor”) must exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
cheek ihe second sub-box. 0 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
O Aplan is being filed with this petition.
O_ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
0 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
O_ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O Chapter 12
9. Were prior bankruptcy HNo
cases filed by or against ,
O Yes.

the debtor within the last 8
years?

If more than 2 cases, attach a .
separate list. District

District

When Case number

 

When Case number

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 2
Case 23-01859-CL7 Filed 06/30/23 Entered 06/30/23 11:36:18 Doc1 Pg. 3 of 36

Debtor Birch Farms, Inc. Case number (if known)

 

 

Name

10. Are any bankruptcy cases JB yo
pending or being filed by a

 

business partner or an O Yes.
affiliate of the debtor?
List all cases. If more than 1,
attach a separate list Debtor Relationship
District When Case number, if known

 

 

11. Why is the case filed in Check all that apply:
this district?
a Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does thedebtorownor [yo
have possession of any

real property or personal LI Yes, Answer below for each property that needs immediate attention. Attach additional sheets if needed.

 

 

 

 

 

 

 

 

property that needs
immediate attention? Why does the property need immediate attention? (Check ail that apply.)
C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?
C1 It needs to be physically secured or protected from the weather.
0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
O Other
Where is the property?
Number, Street, City, State & ZIP Code
Is the property insured?
O1No
OvYes. Insurance agency
Contact name
Phone
[| Statistical and administrative information
13. Debtor's estimation of 5 Check one:

ilable fund
avatars TUNES 0 Funds will be available for distribution to unsecured creditors.

BF After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

 

14, Estimated number of Hi 1-49 0 1,000-5,000 1 25,001-50,000
sreditors C1 50-99 1 5001-10,000 CO 50,001-100,000

C1 100-199 DO 10,001-25,000 0 More than100,000
0 200-999

15. Estimated Assets O $0 - $50,000 C1 $1,000,001 - $10 million 1 $500,000,001 - $1 billion
$50,001 - $100,000 0 $10,000,001 - $50 million 0 $1,000,000,001 - $10 billion
C1 $100,001 - $500,000 C1 $50,000,001 - $100 million C1 $10,000,000,001 - $50 billion
C1 $500,001 - $1 million 0 $100,000,001 - $500 million 0 More than $50 billion

16. Estimated liabilities D1 $0 - $50,000 Hl $1,000,001 - $10 million C1 $500,000,001 - $1 billion

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Debtor Birch Farms, Inc.

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Case number (if known)

 

Name

C1 $50,001 - $100,000
1 $100,001 - $500,000
C1 $500,001 - $1 million

 

OO $10,000,001 - $50 million 0 $1,000,000,001 - $10 billion
1 $50,000,001 - $100 million 0 $10,000,000,001 - $50 billion
DO $100,000,001 - $500 million 0 More than $50 billion

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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Debtor Birch Farms, Inc.

Name

Case number (if known)

 

[ Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature

of authorized
representative of debtor

x

The debtor requests relief in accordance with the chapter of title 11, United States Code. specified in this petition,

| have been authorized to file this petition on behalf of the debtor

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregcing is true and correct.

Executedon June 30, 2023

 

 

 

MM/DD/YYYY
“ Oy f. SA 9S] Ramon Vazquez
Signature of authori representative of debtor Printed name

]

Title President

 

18. Signature of attorney

Official Form 201

x

 

Date June 30, 2023
Signatupeof attorney for debtor MM/DD/YYYY

Martin A. Eliopulos, Esq. 149299

Printed name

 

 

Higgs Fletcher & Mack LLP
Firm name

 

 

401 West A Street Suite 2600
San Diego, CA 92101 _
Number, Street, City, State & ZIP Code

 

Contact phone (619) 236-1551 Emailaddress  elio@higgslaw.com

149299 CA

Bar number and State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtorname Birch Farms, tnc.

United States Bankruptey Court for the. SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known}
0 Check if this is an

amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -— Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $600,000 or imprisonment for up to 20 yaars, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a Declaration and signature

 

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership: or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
Other document that requires a declaration

OOOS SG &828 BB

 

 

| declare under penalty of penury that the foregeiig is true and correct

—Af Ra
Executedon June 30, 2023 xe \

 
  
  

 

I signing bn behalf of debtor

Ramon Vazquez

 

 

Printed name

President z
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 23-01859-CL7 Filed 06/30/23 Entered 06/30/23 11:36:18 Doc1 Pg. 7 of 36

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Debtorname _ Birch Farms, Inc.

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA

 

Case number (if known)

 

 

Official Form 206Sum

 

O1 Check if this is an
amended filing

 

 

 

Summary of Assets and Liabilities for Non-Individuals 12/15
Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property:
Copy line 88 from Schedule A/B....escccccsssssssssesssssssssssssssssssssssssssssisivessessssisssavesesssssssusssesssnsssiuesseesssniseuseeeesansenees $ 0.00
1b. Total personal property:
Copy line 91A from Schedule A/B........cccccccccccecccccesccescceenceeceecneeceesaeececeeseeeeceeeeecareseneecisaescsseseeeeesieeeeeieessieeeenieeees $ 54,816.01
1c. Total of all property:
Copy line 92from Schedule AB sees cwccvucwwcovca us wuesneuestsauauusaauaue tres uestruanaus shaun tenes mat aunneistanan cats ameasteuaguetawarinnsuntaai: $ 54,816.01
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...............::cccceeeeeeeeeeee $ 486,164.95
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule EV/F.............cccecccececeeceeeeeeeneee ene ceteeeeetaceeeeeeeteneeetineess $ 0.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F............:cccccccccessteeeesteetenteees +$ 1,010,792.98
A. Total liabilities oo... ec ceeeececeeeeneeseceeeeeeeeeeeecaeseeeeesaeeeeceeeaeeeesereseeeeesaeseesnesaeecesneeseeesninsiesneeneesesnresieeeeeees
Lines 2 + 3a + 3b $ 1,496,957 .93
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Debtorname _ Birch Farms, Inc.

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA

 

Case number (if known)

 

O1 Check if this is an
amended filing

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 1215

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

eel Cash and cash equivalents

 

1. Does the debtor have any cash or cash equivalents?

01 No. Go to Part 2.

I Yes Fill in the information below.
All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

 

 

 

 

 

 

 

 

 

 

3. Checking, savings, money market, or financial brokerage accounts (/dentify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. Bank of America Checking 6712 $370.61
4. Other cash equivalents (identify all)
5. Total of Part 1. $370.61
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
1 No. Go to Part 3.
I Yes Fill in the information below.
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
7.1. Security Deposit: Security Deposit Held By Landlord HTRCE, LP $2,000.00
8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment
9. Total of Part 2. $2,000.00

 

 

Add lines 7 through 8. Copy the total to line 81.

 

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
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Debtor Birch Farms, Inc. Case number (if known)

 

 

Name

Accounts receivable

 

10. Does the debtor have any accounts receivable?

11 No. Go to Part 4.

Yes Fill in the information below.

 

 

 

 

11. Accounts receivable
11a. 90 days old or less: 3,082.65 - 0.00 =... $3,082.65
face amount doubtful or uncollectible accounts
12. Total of Part 3. $3,082.65

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 

 

eel gee Investments

 

 

13. Does the debtor own any investments?

ME No. Go to Part 5.
0 Yes Fill in the information below.

Inventory, excluding agriculture assets

 

18. Does the debtor own any inventory (excluding agriculture assets)?

HI No. Go to Part 6.
0 Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

HI No. Go to Part 7.
0 Yes Fill in the information below.

eels Office furniture, fixtures, and equipment; and collectibles

 

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

01 No. Go to Part 8.

I Yes Fill in the information below.

General description Net book value of Valuation method used
debtor's interest for current value
(Where available)

39. Office furniture
See Attachment 39
Office equipment and supplies: (2)
refrigerators, (1) microwave, (1) coffeemaker,
(2) computers, (3) freezers, (1) air compressor,
(25) metal display racks, (8) Chairs, (4) Desks,
(1) Metal Storage Racks, (6) Panels, and (2)

Current value of
debtor's interest

 

 

metal Office Drawers. $2,862.75 Replacement $2,862.75
40. Office fixtures
41. Office equipment, including all computer equipment and

communication systems equipment and software
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2
Debtor

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Birch Farms, Inc. Case number (if known)

 

 

Name

Copier Machine.

 

 

 

 

 

 

 

 

Sum of remaining 50 payments to end of lease. $0.00 N/A Unknown
Cox Communicatons Equipment $0.00 N/A Unknown
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles
43. Total of Part 7. $2,862.75 |
Add lines 39 through 42. Copy the total to line 86.
44. Is a depreciation schedule available for any of the property listed in Part 7?
BNo
0 Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
BNo
0 Yes
cli moe Machinery, equipment, and vehicles

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

01 No. Go to Part 9.

I Yes Fill in the information below.

 

 

 

 

 

 

 

 

 

 

General description Net book value of Valuation method used Current value of
Include year, make, model, and identification numbers debtor's interest for current value debtor's interest
(i.e., VIN, HIN, or N-number) (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
A8. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
floating homes, personal watercraft, and fishing vessels
49. Aircraft and accessories
50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)
Packaging Line
[Model No. ZH-V520 Packaging System] Unknown Comparable sale $45,000.00
Lemmar Manual Packaging Machine
No model or serial number Unknown Replacement $1,500.00
Manual Heat Sealer (broken) $0.00 N/A $0.00
51. Total of Part 8. $46,500.00
Add lines 47 through 50. Copy the total to line 87.
52. Is a depreciation schedule available for any of the property listed in Part 8?
BNno
0 Yes
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
Case 23-01859-CL7 Filed 06/30/23 Entered 06/30/23 11:36:18 Doc1 Pg. 11 of 36

Debtor Birch Farms, Inc.

Case number (if known)

 

 

Name

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

MNo
O Yes

Real property

 

54. Does the debtor own or lease any real property?

01 No. Go to Part 10.

lM Yes Fill in the information below.

 

 

 

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
Include street address or other debtor's interest (Where available)
description such as Assessor in property
Parcel Number (APN), and type
of property (for example,
acreage, factory, warehouse,
apartment or office building, if
available.
55.1. Business Lease:
Birch Farms, Inc.
861 Harold Pl. Suite
206
Chula Vista, CA Leasehold
91914 Interest $0.00 N/A $0.00
56. Total of Part 9. $0.00

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.

Copy the total to line 88.

 

 

 

57. Is a depreciation schedule available for any of the property listed in Part 97

MNo
OO Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

MNo
O Yes

eee nO Intangibles and intellectual property

 

59. Does the debtor have any interests in intangibles or intellectual property?

0 No. Go to Part 11.

Yes Fill in the information below.

General description

Net book value of Valuation method used
debtor's interest for current value
(Where available)

Current value of
debtor's interest

 

 

 

 

60. Patents, copyrights, trademarks, and trade secrets

Trademark: Del Artesano USA $0.00 N/A $0.00
61. Internet domain names and websites

Website: www.birchfarmsinc.com $0.00 N/A $0.00
62. Licenses, franchises, and royalties
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4
Case 23-01859-CL7 Filed 06/30/23 Entered 06/30/23 11:36:18 Doc1 Pg. 12 of 36

 

 

 

 

 

 

 

 

Debtor Birch Farms, Inc. Case number (if known)
Name
63. Customer lists, mailing lists, or other compilations
Customer List for Birch Farms, Inc. $0.00 N/A $0.00
64. Other intangibles, or intellectual property
65. Goodwill
66. Total of Part 10. $0.00
Add lines 60 through 65. Copy the total to line 89.
67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
BNno
O Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
HNo
0 Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
HNo
0 Yes

eee aa i All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

HI No. Go to Part 12.
0 Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 5
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Debtor Birch Farms, Inc. Case number (if known)

 

 

Name

eel Summary

In Part 12 copy all of the totals from the earlier parts of the form

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of property Current value of Current value of real
personal property property

80. Cash, cash equivalents, and financial assets.

Copy line 5, Part 7 $370.61
81. Deposits and prepayments. Copy line 9, Part 2. $2,000.00
82. Accounts receivable. Copy fine 12, Part 3. $3,082.65
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy fine 23, Part 5. $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles.

Copy line 43, Part 7. $2,862.75
87. Machinery, equipment, and vehicles. Copy fine 51, Part 8. $46,500.00
88. Real property. Copy line 56, Part 9........ccccccccceccccsscescesescecesensenseceteeseceeestesteesatieeaeesseesetiesateeeas > $0.00
89. Intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy line 78, Part 11. + $0.00
91. Total. Add lines 80 through 90 for each column $54,816.01 +91b. $0.00
92. Total of all property on Schedule AJB. Add lines 91a+91b=92 $54,816.01

 

 

 

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 6
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MIO Micoerarchice emcee Celta mutt - Mer: Ct-M

Debtorname _ Birch Farms, Inc.

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA

 

Case number (if known)

 

O1 Check if this is an
amended filing

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
0 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
Ves. Fill in all of the information below.

Fun List Creditors Who Have Secured Claims

 

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured Column A Bole
claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this
Do not deduct the value claim
of collateral.
4 Small Business
‘| Administration Describe debtor's property that is subject to a lien $486,164.95 $54,816.01

 

 

 

 

Creditor’s Name All personal property listed in Schedule A/B.

14925 Kingsport Road
Fort Worth, TX 76155-2243

Creditor’s mailing address Describe the lien

Econome Injury Disaster Loan (UCC-1 Filing)

Is the creditor an insider or related party?

 

 

 

 

 

Bno
Creditor’s email address, if known oO Yes
Is anyone else liable on this claim?
Date debt was incurred Ono
6/14/2020 WB Ves. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
7905
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Bi no O Contingent
OD Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative O Disputed
priority.

 

 

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. $486,164.95

EM List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity

 

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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MIO Micoerarchice emcee Celta mutt - Mer: Ct-M

 

Debtorname _ Birch Farms, Inc.

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA

 

Case number (if known)

 

O1 Check if this is an
amended filing

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

GERSEE List All Creditors with PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
WH No. Go to Part 2.
D1 Yes. Go to line 2.
GER List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
out and attach the Additional Page of Part 2.

 

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $425.43
Cox Business O contingent

P.O. Box 1259
Oaks, PA 19456

Date(s) debt was incurred 07/01/2021
Last 4 digits of account number 5001

0 unliquidated
O Disputed
Basis for the claim: Central VOIP Phone System equipment and service

Monthly Payment: $445.00
Mature Date: 07-22-2023

Current Balance: $425.43

Is the claim subject to offset? a No O Yes

 

 

Nonpriority creditor's name and mailing address

HTRCE, LP
550 West Broadway, Suite 310
San Diego, CA 92101

Date(s) debt was incurred 01/01/2020
Last 4 digits of account number N/A

As of the petition filing date, the claim is: Check aif that apply. $73,088.64
O Contingent

0 unliquidated

O Disputed

Basis for the claim: Business Lease:
Birch Farms, Inc.

861 Harold Pl. Suite 206

Chula Vista, CA 91914

 

 

2023 Current Balance: $24,036.00
2024 Current Balance: $49,052.64

Is the claim subject to offset? a No O Yes

 

 

 

Nonpriority creditor's name and mailing address

Leaf Commercial Capital, Inc.,
P.O. Box 5066
Hartford, CT 06102-5066

Date(s) debt was incurred 04/15/2022
Last 4 digits of account number 8002

As of the petition filing date, the claim is: Check aif that apply. $6,210.44
O Contingent

0 unliquidated

O Disputed

Basis for the clam: LEAF Commercial Capital, Inc., a subsidiary of M&T
Bank

Copier/Printer Machine Lease

Monthly Payment: $182.66

Maturity Date: 04-01-2027

Is the claim subject to offset? a No O Yes

 

 

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 2

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Debtor Birch Farms, Inc. Case number (if known)
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $925,308.47
Utah Chips Co. DBA Snacko D1 contingent
Preeport Center Bldg M-7 0 unliquidated
Clearfield Oop
. Disputed
Clearfield, UT 84016
Basis for the claim: Business Materials
Date(s) debt was incurred 06/13/2022 eee —eEeEeEEEeEe
Last 4 digits of account number 6JCB Is the claim subject to offset? a No O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $5,760.00

Visual Edge, IT, Inc.
L-3737
Columbus, OH 43260-3737

Date(s) debt was incurred 04/15/2022
Last 4 digits of account number MSO1

O Contingent
0 unliquidated
O Disputed

Basis for the claim: Service Copy Machine, cartridges and maintenance

 

(previously dba Image Source)

Is the claim subject to offset? a No O Yes

 

laa

List Others to Be Notified About Unsecured Claims

 

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

41

Name and mailing address

Terry Jessop & Bitner
341 South Main Stree, Ste. 450
Salt Lake City, UT 84111-2705

On which line in Part1 or Part 2 is the Last 4 digits of

related creditor (if any) listed? account number, if
any

Line _3.4 6JCB

O Notlisted. Explain

 

za Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

 

5a. Total claims from Part 1
5b. Total claims from Part 2

5c. Total of Parts 1 and 2

Official Form 206 E/F

Lines 5a + 5b = 5c.

Total of claim amounts

 

5a. $ 0.00
5b. + $ 1,010,792.98
5c. $ 1,010,792.98

 

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

Page 2 of 2
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Debtorname _ Birch Farms, Inc.

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA

 

Case number (if known)

 

O1 Check if this is an
amended filing

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
D1 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

@ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

 

 

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Central VOIP Phone

lease is for and the nature of System equipment and
the debtor's interest service
Monthly Payment:
$445.00
Mature Date:
07-22-2023
Current Balance:
$425.43
State the term remaining Maturity Date:
07-22-2023 Cox Business
List the contract number of any P.O. Box 1259
government contract Oak, PA 19456
2.2. State what the contract or Business Lease:
lease is for and the nature of Birch Farms, Inc.
the debtor's interest 861 Harold PI. Suite 206

Chula Vista, CA 91914

2023 Current Balance:

$24,036.00
2024 Current Balance:
$49,052.64
State the term remaining Maturity Date:
12-31-2023 HTRCE, LP
List the contract number of any 550 West B Street Suite 310
government contract San Diego, CA 92101

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 2
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Debtor 1 Birch Farms, Inc. Case number (if known)
First Name Middle Name Last Name

 

 

oo Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.3. State what the contract or LEAF Commercial

lease is for and the nature of Capital, Inc., a
the debtor's interest subsidiary of M&T
Bank
Copier/Printer Machine
Lease
Monthly Payment:
$182.66
Maturity Date:
04-01-2027
Current Balance
$6,210.44
State the term remaining Maturity Date:
04.01.2027 Leaf Commercial Capital, Inc.,
List the contract number of any P.O. Box 5066
government contract Hartford, CT 06102-5066

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 2 of 2
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Debtorname _ Birch Farms, Inc.

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA

 

Case number (if known)

 

O1 Check if this is an
amended filing

 

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

D1 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
ves

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1. Ramon Vasquez 415 Via Maggiore Small Business Mp 24
Chula Vista, CA 91914 Administration O Er
Peronal guaranty secured by lien on os _
residence. —

 

Official Form 206H Schedule H: Your Codebtors Page 1 of 1
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MLO Miceerarhicelem com elit mull - eer: Ct-H

Debtorname _ Birch Farms, Inc.

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA

 

Case number (if known)

 

O1 Check if this is an
amended filing

 

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

 

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

EEE income

1. Gross revenue from business

 

 

0 None.
Identify the beginning and ending dates of the debtor’s fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and
exclusions)
For prior year: C1 Operating a business $362,300.68
From 8/01/2022 to Filing Date
Mother Sales
For year before that: 0 Operating a business $5,681 ,769.00
From 8/01/2021 to 7/31/2022
Mother Sales
For the fiscal year: C1 Operating a business $9,188,153.00

From 8/01/2020 to 7/31/2021
Mother Sales

 

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

0 None.
Description of sources of revenue Gross revenue from

each source
(before deductions and

 

 

 

 

exclusions)
For prior year:
From 7/01/2022 to 6/30/2023 Fresh potato sales $1,939,209.07
For prior year: Sales Equipment: (3) iPads &
From 7/01/2022 to 6/30/2023 (2) printers $3,705.00
For prior year: . .
From 7/01/2022 to 6/30/2023 Sales Equipment: (1) printer $875.00

 

 

wa List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1
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Debtor Birch Farms, Inc.

Case number (if known)

 

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

 

 

 

 

0 None.
Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply
3.1. Ford Credit 4/27/2023 $1,920.66 Ml secured debt
PO Box 650574 $960.33 0 Unsecured loan repayments
Dallas, TX 75265 5/27/2023 CO Sussliers opvendars
$960.33 PP
0 Services
O Other__
32. US Small Business Admin. 4/18/2023 $9,832.00 1 Secured debt
14925 Kingsport Road $2,458.00 0 Unsecured loan repayments
Fort Worth, TX 76155-2243 5/22/2023 C1 Suppliers or vendors
Soe OO Services
$2,458.00 M@ Other Payment on SBA
6/29/2023 Loar.
$2,458.00
33. Leaf 04/25/2023 - $626.73 1 Secured debt
P.O. Box 5066 $182.76 0 Unsecured loan repayments
Hartford, CT 06102-5066 05/22/2023 - C suppliers or vendors
Daa LW Services
$182.69 O Other __
34. Accounting Services 06/27/2023 - $5,300.00 1 Secured debt
Luis Schipper $5,300.00 0 Unsecured loan repayments

5482 Complex Street
Suite 113
San Diego, CA 92123

OO Suppliers or vendors

@ Services
O Other __

 

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. /nsiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

 

0 None.
Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor
Short term loan repayment of
4.1. Brandon Vazque 12/28/2022 100,000.00
9368 Nolin Orchard Lane , $100,000 loaned on 12/1/2022 to
Loveland, OH 45140 Birch Farms, Inc. to buy fresh
N/A , potatoes for Barcel Mexico.
4.2. Ramon Vazquez 9/28/2022 $10,000.00 | Short term loan repayment of

415 Via Maggiore
Chula Vista, CA 91914
President

loan on 8/30/2022 for family
matter. Situation resolved,
money was not used and
money was paid back few
weeks later.

 

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

page 2
Debtor

5. Repossessions, foreclosures, and returns

Birch Farms, Inc.

Case number (if known)

 

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List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

None

Creditor's name and address

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a

debt.

Hi None

Creditor's name and address

Legal Actions or Assignments

Describe of the Property

Description of the action creditor took

Date

Date action was
taken

Value of property

Amount

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

 

0 None.
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1. Utah Chips Company, a Utah Civil - Breach of US District Court for O Pending
Corporation DBA Snackco of Contract District of Utah O On appeal
America, AKA Snackco 351 South West Temple H@ Concluded
(Plaintiff) Street
vs. Salt Lake City, UT 84101
Birch Farms, Inc. a California
corporation, and Ramon
Vazquez, an individual
(Defendants)
2:22-cv-00696-JCB

7.2. Utah Chips Company, a Utah Civil - Breach of U.S. District Court, District Pending
corporation DBA Snackco of Contract of Utah (C 0 onappeal
America AKA Snackco 351 S. West Temple Street O Concluded
(Plaintiff) Salt Lake City, UT 84101
vs.

Birch Farms, a California
corporation (Defendant)
2:22-cv-00825-JNP-JCB

 

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Hi None

GERZSE Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of

the gifts to that recipient is less than $1,000

Hi None

Official Form 207

Recipient's name and address

Description of the gifts or contributions

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Dates given

Value

page 3
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Debtor Birch Farms, Inc. Case number (if known)

 

 

GEES Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

H None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

If you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets — Real and Personal Property).

Gata Certain Payments or Transfers

11.

12.

13.

Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
relief, or filing a bankruptcy case.

C1 None.
Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address

11.1. Higgs Fletcher & Mack LLP
401 West A Street Suite 2600 Attorney Fee + Filing Fee for Chapter 7
San Diego, CA 92101 Bankruptcy Case. 4/13/2023 $5,000.00

 

Email or website address
elio@higgslaw.com

 

Who made the payment, if not debtor?

 

Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.

Do not include transfers already listed on this statement.

H None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

Transfers not already listed on this statement

List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

C1 None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value
13.1. Carl Burger Dodge Sale Ford Transit Van; Paid off lien;
8355 Hercules Street refund of $3,082.65 due and listed in
La Mesa, CA 91942 Schedule B, Account Receivable. 06/03/2023 $35,000.00

 

Relationship to debtor
Arm's length sale to dealer.

 

 

i_lgee Previous Locations

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
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Debtor Birch Farms, Inc. Case number (if known)

 

 

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

H Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

MH No. Go to Part 9.
0 Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor's care

GEE Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

HM No.

O_ Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

HM No. Go to Part 10.
O_ Yes. Does the debtor serve as plan administrator?

Ei Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.
None
Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5
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Debtor Birch Farms, Inc. Case number (if known)
None
Facility name and address Names of anyone with Description of the contents Does debtor
access to it still have it?

Gn Property the Debtor Holds or Controls That the Debtor Does Not Own

 

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

None

ara Details About Environment Information

 

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

H No.

O Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

M No.

O_ Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

MH No.

0 Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

lume Details About the Debtor's Business or Connections to Any Business

 

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

Hi None

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
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Debtor Birch Farms, Inc. Case number (if known)

 

 

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

OO None
Name and address Date of service
From-To
26a.1. Luis Shipper 2022-2023

4550 Kearney Villa Road #220
San Diego, CA 92123

 

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
within 2 years before filing this case.

None

26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

OO None
Name and address If any books of account and records are
unavailable, explain why
26c.1. Ramon Vazquez Also located at:
415 Via Maggiore Birch Farms, Inc.
Chula Vista, CA 91914 861 Harold Place #206

Chula Vista, CA 91914

 

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

O None

Name and address

26d.1.. US Small Business Admin.
14925 Kingsport Road
Fort Worth, TX 76155-2243

 

26d.2. Bank of America
2295 Otay Lakes Road
Chula Vista, CA 91915

 

27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?

H@ No

O Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

 

Name Address Position and nature of any % of interest, if
interest any
Ramon Vazquez 415 Via Maggiore President 90%
Chula Vista, CA 91914
Name Address Position and nature of any % of interest, if
interest any
Ricardo Vazquez 1789 Bellagio St. Secretary 10%

Chula Vista, CA 91913

 

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Debtor Birch Farms, Inc. Case number (if known)

 

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

O No
M yes. Identify below.

Name Address Position and nature of any Period during which
interest position or interest
was held
Dagoberto Segura 2303 Lago Ventana Operations From 08/01/2010

Chula Vista, CA 91914

to 05/05/2023

 

Name

Adriana Vazquez

Address

415 Via Maggiore
Chula Vista, CA 91914

Position and nature of any
interest

Administration

Period during which
position or interest
was held

From 08/01/2010
to Date of Filing.

 

30. Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

 

 

 

 

 

 

 

 

 

O No

M Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for

property providing the value

30.1 Ramon Vazquez Salary and
415 Via Maggiore $59,203.17 7/1/2022 to Reimbursement of
Chula Vista, CA 91914 See Attachment SOFA #30. 6/30/2023 Car Payment.
Relationship to debtor
President

30.2 Salary and

Reimbursement

Ricardo Vazquez for Car and
1789 Bellagio St. $97,217.24 7/1/2022 to Insurance
Chula Vista, CA 91913 See Attachment SOFA #30. 6/30/2023 Payment.
Relationship to debtor
Secretary

30.3 Salary and

Reimbursement

Dagoberto Segura for Car and
2303 Lago Ventana $61,886.00 7/1/2022 to Insurance
Chula Vista, CA 91914 See Attachment SOFA #30. 6/30/2023 Payment.
Relationship to debtor
Operations

30.4 Adriana Vazquez
Chula Vista, CA 91914 See Attachment SOFA #30. 6/30/2023 Salary.

 

Relationship to debtor
Administration

 

 

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Debtor Birch Farms Inc. _ Case number if known)
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value
30.5 Mauricio Vazquez
415 Via Maggiore $32,511.08 7/1/2022 to
Chula Vista, CA 91914 See Attachment SOFA #30. 6/30/2023 Salary
Relationship te debtor

Sales Reprentative

 

31, Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

@ No
O Yes, Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

H No
C] Yes. Identify below.

Name of the pension fund Employer Identification number of the pension

fund
GEGEEEE Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or beth,
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct

_Executed gn June 30, 2023

 

 

FING | f VA | Ramon Vazquez
Signature of individial signing 6n behalf of the debtor Printed name
1 J

Position or relationship to debtor Prasident

 

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
BNo

D Yes

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Revised: 1/24/13

Name, Address, Telephone No. & I.D. No.
Martin A. Eliopulos, Esq. 149299

401 West A Street Suite 2600

San Diego, CA 92101

(619) 236-1551

 

 

149299 CA
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West "F" Street, San Diego, California 92101-6991
In Re
Birch Farms, Inc. BANKRUPTCY NO.

Tax I.D./S.S. #: XX-XXXXXXX
Debtor.

 

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
AND THEIR ATTORNEY

In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy process,
the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or responsibilities
under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.

I.
Services Included in the Initial Fee Charged

The following are services that an attorney must provide as part of the initial fee charged for representation in a
Chapter 7 case:

1. Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.

2. Analyze the debtor’s financial situation, and render advice to the debtor in determining whether to file a
petition in bankruptcy.

3. Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the debtor

regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the debtor’s questions.

4, Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and instruct the
debtor as to the date, time and place of the meeting.

5. Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
vehicles securing loans or leases.
10.

11.

12.

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Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of Financial
Affairs, and any necessary amendments to Schedule C.

Provide documents pursuant to the Trustee Guidelines and any other information requested by the
Chapter 7 Trustee or the Office of the United State Trustee.

Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to
the debtor.

Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any continued meeting,
except as further set out in Section II.

File the Certificate of Debtor Education if completed by the debtor and provided to the attorney before
the case is closed.

Attorney shall have a continuing obligation to assist the debtor by returning telephone calls, answering
questions and reviewing and sending correspondence.

Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in Schedule C.

II.
Services Included as Part of Chapter 7 Representation,
Subject to an Additional Fee

The following are services, included as part of the representation of the debtor, but for which the attorney may
charge additional fees.

1,

Se SS

so

Representation at any continued meeting of creditors due to client’s failure to appear or failure to
provide required documents or acceptable identification;

Amendments, except that no fee shall be charged for any amendment to Schedule C that may be
required as a result of attorney error;

Opposing Motions for Relief from Stay;

Reaffirmation Agreements and hearings on Reaffirmation Agreements;

Redemption Motions and hearings on Redemption Motions;

Preparing, filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
Representation in a Motion to Dismiss or Convert debtor’s case;

Motions to Reinstate or Extend the Automatic Stay;

Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
administration issues.
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Hil.
Additional Services Not Included in the Initial Fee Which Will Require a
Separate Fee Agreement

The following services are not included as part of the representation in a Chapter 7 case, unless the attorney and
debtor negotiate representation in these post-filing matters at mutually agreed upon terms in advance of any
obligation of the attorney to render services. Unless a new fee agreement is negotiated between debtor and
attorney, attorney will not be required to represent the debtor in these matters:

1. Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to determine
Dischargeability of Debt;

2. Defense of a Complaint objecting to discharge;

a, Objections to Claim of Exemption, except where an objection arises due to an error on Schedule C;

4, Sheriff levy releases;

5. Section 522(f) Lien Avoidance Motions;

6. Opposing a request for, or appearing at a 2004 examination;

7, All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
Property;

8. Motions or other proceedings to enforce the automatic stay or discharge injunction;

9. Filing or responding to an appeal;

10. An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).

IV.
Duties and Responsibilities of the Debtor

As the debtor filing for a Chapter 7 bankruptcy, you must:

1, Fully disclose everything you own, lease, or otherwise believe you have a right or interest in prior to
filing the case;

2s List everyone to whom you owe money, including your friends, relatives or someone you want to repay
after the bankruptcy is filed;

3. Provide accurate and complete financial information;

4, Provide all requested information and documentation in a timely manner, in accordance with the
Chapter 7 Trustee Guidelines;

3 Cooperate and communicate with your attorney;

3
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6. Discuss the objectives of the case with your attorney before you file;

7. Keep the attorney updated with any changes in contact information, including email address;

8. Keep the attorney updated on any and all collection activities by any creditor, including lawsuits,
judgments, garnishments, levies and executions on debtor’s property;

9. Keep the attorney updated on any changes in the household income and expenses;

10.‘ Timely file all statutorily required tax returns;

11. Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;

12. Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;

13. Bring proof of social security number and government issued photo identification to the Section 341(a)
Meeting of Creditors;

14. Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your case;

15. Pay all required fees prior to the filing of the case;

16. Promptly pay ail required fees in the event post filing fees are incurred;

17. Debtors must not direct, compel or demand their attorney to take a legal position or oppose a motion in
violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule that is not well
grounded in fact or law.

Dated: June 30, 2023 - ie Ay ons TAVA Tt}

Ramon sve ~
Debto ‘

Dated: June 30, 2023

     

 

 

   

Martin A. Eliopulos, Esq. 149299
Attorney for Debtor(s)
Case 23-01859-CL7 Filed 06/30/23 Entered 06/30/23 11:36:18 Doc1 Pg. 33 of 36

B2030 (Form 2030) (12/15)

United States Bankruptcy Court
Southern District of California

In re Birch Farms, Inc. Case No.

 

Debtor(s) Chapter 7

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 5,000.00
Prior to the filing of this statement I have received $ 5,000.00
Balance Due $ 0.00

 

2. $0.00 ofthe filing fee has been paid.

3. The source of the compensation paid to me was:

H Debtor Ol Other (specify):
4. The source of compensation to be paid to me is:
@ Debtor O Other (specify):
5. H { have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

0 Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

a. [Other provisions as needed]

7. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

June 30, 2023 o
Date Martin A. Eliopulos, Esq. 149299
Signature of Attorney
Higgs Fletcher & Mack LLP
401 West A Street Suite 2600
San Diego, CA 92101
(619) 236-1551 Fax: (619) 696-1410
elio@higgslaw.com
Name of law firm

 

 

 

 

 

 
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CSD 1008 (08/21/00)

Name, Address, Felephone No. & I.D. No.
Martin A. Eliopulos, Esq. 149299

401 West A Street Suite 2600

San Diego, CA 92101

(619) 236-1551

149299 CA

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West "F" Street, San Diego, California 92101-6991

 

in Re

Birch Farms, Inc. SRNRRUBTEY Wo,

 

Debtor.

VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

B New petition filed. Creditor diskette required. TOTAL NO. OF CREDITORS:_8

 

O Conversion fited on . See instructions on reverse side
O Former Chapter 13 converting. Creditor diskette required. TOTAL NO. OF CREDITORS:
1  Post-petition creditors added. Scannable matrix required.
QO There are no post-petition creditors. No matrix required.

 

O Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
Equity Security Holders. See instructions on reverse side.
C) Names and addresses are being ADDED.
C) Names and addresses are being DELETED.
1 Names and addresses are being CORRECTED.

PART Ii (check one):

HM The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

1 The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
the filing of a matrix is not required.

— ; yf

 

ge a
Date: June 30, 2023 EVM TE VOT |
Ramen Vazquez'President
Signer/Title =“ |

REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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CSD 1008 (Page 2) [08/21/00]

 

 

INSTRUCTIONS
1) Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.
2) A creditors matrix with Verification is required whenever the following occurs:

a) A new petition is filed. Diskette required.

b) A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

c) An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3) The scannable matrix must be originally typed or printed. It may not be a copy.
4) CONVERSIONS:

a) When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

b) For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5) AMENDMENTS AND BALANCE OF SCHEDULES:

a) Scannable matrix format required.

b) The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

c) Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
on the same page in alphabetical order.

6) Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.

CSD 1008
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Ramon Vasquez
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Utah Chips Co. DBA Snacko
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